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 1                           (Stipulating Parties Listed on Signature Pages)
 2                              UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF CALIFORNIA
 3                                 SAN FRANCISCO DIVISION
 4   In re: CATHODE RAY TUBE (CRT)                       Case No. 07-5944 SC
     ANTITRUST LITIGATION
 5                                                       MDL No. 1917
     This Document Relates to:
 6                                                       STIPULATION AND [PROPOSED]
     ALL DIRECT ACTION PLAINTIFF ACTIONS                 ORDER REGARDING SCHEDULING
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 9
             WHEREAS, pursuant to the Stipulation and Order Regarding Scheduling dated March 21,
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     2014 (Doc. No. 2459) (“Scheduling Order”), on August 5, 2014, Defendants served the expert
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     reports of Dr. Dennis Carlton, who addressed issues related to the Direct Action Plaintiffs’ (the
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     “DAPs”) claims and the expert reports of Dr. James McClave, Dr. Kenneth Elzinga, Dr. Jerry
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     Hausman, and Dr. Mohan Rao (the “DAP Experts”);
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             WHEREAS, pursuant to the Scheduling Order, the DAP Experts’ rebuttal reports are
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     currently required to be served no later than September 23, 2014;
16
             WHEREAS, pursuant to the Scheduling Order, Defendants’ experts’ surrebuttal reports
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     are currently required to be served no later than October 31, 2014;
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             WHEREAS, the DAPs and Defendants have coordinated to establish dates for Dr.
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     Carlton’s deposition which would be convenient for Dr. Carlton and so as to allow sufficient time
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     for review of the witness’s testimony in connection with the DAP Experts’ preparation of their
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     rebuttal reports;
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             WHEREAS, in order to accommodate the schedule of Dr. Carlton and to accommodate
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     DAPs’ request for additional time for the DAP Experts to prepare their rebuttal reports, the parties
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     hereto have reached an agreement as set forth herein;
25
             IT IS HEREBY STIPULATED AND AGREED by and between counsel for the DAPs and
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     counsel for the Defendants as follows:
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             1.      Defendants will produce Dr. Carlton for deposition on September 16 and 17, 2014
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     STIPULATION AND [PROPOSED] ORDER                                                       Case No. 07-5944
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 1
     at White & Case’s Washington, D.C. offices;
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            2.      The last day for the DAP Experts to serve their rebuttal expert report on the merits
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     is extended to September 26, 2014, and the last day for the DAP Experts to serve the backup
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     material accompanying their rebuttal expert reports on the merits is extended to October 1, 2014;
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            3.      The last day for Defendants’ experts to serve their surrebuttal expert reports on the
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     merits is extended to November 6, 2014, and the last day for Defendants’ experts to serve the
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     backup material accompanying their surrebuttal expert reports on the merits is extended to
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     November 11, 2014;
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            4.      All other dates in the Scheduling Order are unaffected by this stipulation.
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                                                   * * *
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            The undersigned parties jointly and respectfully request that the Court enter this
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     stipulation as an order.
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     PURSUANT TO STIPULATION, IT IS SO ORDERED.

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15           October 2, 2014                                                APPRO




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     Dated:___________________                          ______________________________________
16                                                                  Hon. Samuel Conti
                                                                United States District Judgenti
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     STIPULATION AND [PROPOSED] ORDER                                                       Case No. 07-5944
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     STIPULATION AND [PROPOSED] ORDER                                            Case No. 07-5944
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     STIPULATION AND [PROPOSED] ORDER                                         Case No. 07-5944
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     STIPULATION AND [PROPOSED] ORDER                                           Case No. 07-5944
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 4                                               Island Corporation, Marta Cooperative of America,
                                                 Inc., ABC Appliance, Inc., Schultze Agency Services
 5                                               LLC on behalf of Tweeter Opco, LLC and Tweeter
                                                 Newco, LLC, Tech Data Corp., and Tech Data
 6                                               Product Management, Inc.
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 8
            Pursuant to Local Rule 5-1(i), the filer attests that the concurrence in the filing of this
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     document has been obtained from each of the above signatories.
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     STIPULATION AND [PROPOSED] ORDER                                                     Case No. 07-5944
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